                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION



INTEGRATED DENTISTRY, P.A.,                                                           PLAINTIFF

      v.                                    NO. 19-5090

INTEGRATIVE DENTAL SPECIALISTS,
PLLC; ORAL & FACIAL SURGERY CENTER, P.A.,
and DR. SCOTT L. BOLDING                                                          DEFENDANTS


                             CLERK'S ORDER OF DISMISSAL


   On this 2nd day of July, 2021, the parties hereto having filed a stipulation for dismissal

pursuant to Rule 41 (a), Federal Rules of Civil Procedure, IT IS ORDERED that plaintiff's

complaint be, and hereby is dismissed with prejudice.


                              AT THE DIRECTION OF THE COURT

                               JAMIE GIANI, CLERK


                               BY: S. Cummings
                                   Deputy Clerk
